                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA                               8/7/2017
                                        LYNCHBURG DIVISION


   TERSHAUD SAVORYEA ROSE,                            CASE NO. 6:17-CV-00012
                                 Plaintiff,

          v.                                          MEMORANDUM OPINION

   CENTRA HEALTH, INC., ET AL.,
                                                      JUDGE NORMAN K. MOON
                                 Defendants.


         This case, brought by Plaintiff Tersahud Savoryea Rose, seeks compensatory and

  punitive damages against numerous defendants involved in the pursuit, arrest, and prosecution of

  Plaintiff following his departure from the hospital on February 4, 2016. The matter is before the

  Court upon three partial motions to dismiss for failure to state a claim. The first motion was

  filed by the City of Lynchburg (“the City”), and the police officers employed by it (Defendants

  Clark, Bragg, and Miller). (Dkt. 24). The second motion was filed by Centra Health, Inc.

  (“Centra”)—the hospital where Plaintiff was treated prior to the incident. (Dkt. 25). The third

  motion was filed by Rudolph Tidwell—the supervising security guard at Centra the night of the

  incident. (Dkt. 28).

         The motion filed by the City, Clark, Bragg, and Miller will be granted. All Counts will be

  dismissed against the City because Plaintiff has failed to plead facts sufficient to establish a

  Monell-style claim against it. Counts 1, 3, and 4 will be dismissed against Defendants Miller,

  Bragg, and Clark because they are entitled to qualified immunity.

         The motion filed by Centra will be granted in part and denied in part. Counts 1–4 will be

  dismissed as to Centra because Plaintiff has failed to plead a plausible Monell-style claim against




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  it. 1 Count 12 will be dismissed because it fails to state a claim for negligent entrustment of a taser.

  Centra’s request for dismissal of Plaintiff’s punitive damages claims will be denied because Rule

  12(b)(6) is not the proper mechanism for dismissing prayers for relief. Nevertheless, the punitive

  damages request will be capped at $350,000 for Counts 5–9, in accordance with Virginia law.

          Likewise, Defendant Tidwell’s motion will be granted in part and denied in part. The

  motion will be denied as to Counts 1–4 because Plaintiff has pled facts sufficient to support § 1983

  claims against him, and it will be denied as to Counts 4 and 9 because Plaintiff has properly pled a

  conspiracy to maliciously prosecute under § 1983 and Virginia common law. The motion will be

  granted as to Count 10, however, because Plaintiff has not pled facts sufficient to support a finding

  of intentional infliction of emotional distress by Tidwell. In fact, Count 10 will be dismissed in

  full.

          Plaintiff has conceded that Count 11 should be dismissed in its entirety, so it will be

  dismissed. Additionally, LPD John Does 1–10, LPD Jane Does 1–10, Centra John Does 1–10, and

  Centra Jane Does 1–10 will be dismissed and terminated from the case, pursuant to Rule 4(m),

  because they have not been served. (See dkts. 18, 34).

                                          I. LEGAL STANDARD
          A motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6) tests the legal sufficiency of a

  complaint to determine whether the plaintiff has properly stated a claim; “it does not resolve

  contests surrounding the facts, the merits of a claim, or the applicability of defenses.”

  Republican Party of North Carolina v. Martin, 980 F.2d 943, 952 (4th Cir. 1992). Although a

  complaint “does not need detailed factual allegations, a plaintiff’s obligation to provide the

  ‘grounds’ of his entitle[ment] to relief requires more than labels and conclusions, and a formulaic

  recitation of the elements of a cause of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S.

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         Additionally, Plaintiff’s counsel conceded at oral argument that the Monell-style § 1983
  claims against Centra were factually insufficient to survive a challenge under Rule 12(b)(6).
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  544, 555 (2007) (citations omitted).

         A court need not “accept the legal conclusions drawn from the facts” or “accept as true

  unwarranted inferences, unreasonable conclusions, or arguments.” Eastern Shore Markets, Inc.

  v. J.D. Assocs. Ltd. P’ship, 213 F.3d 175, 180 (4th Cir. 2000). “Factual allegations must be

  enough to raise a right to relief above the speculative level,” Twombly, 550 U.S. at 555, with all

  allegations in the complaint taken as true and all reasonable inferences drawn in the plaintiff’s

  favor. Chao v. Rivendell Woods, Inc., 415 F.3d 342, 346 (4th Cir. 2005). Rule 12(b)(6) does

  “not require heightened fact pleading of specifics, but only enough facts to state a claim to relief

  that is plausible on its face.” Twombly, 550 U.S. at 570. Consequently, “only a complaint that

  states a plausible claim for relief survives a motion to dismiss.” Ashcroft v. Iqbal, 556 U.S. 662,

  679 (2009).

                                         II. FACTS AS ALLEGED

         The 122-page, 619-paragraph Complaint in this case contains far more allegations than

  can be summarized here. Instead, the Court will limit itself to a brief summary of the facts

  relevant to the resolution of the instant motions.

         On February 4, 2016, after falling off a bench, Plaintiff was transported to the emergency

  room at Lynchburg General Hospital, which is owned and operated by Defendant Centra. (Dkt 1

  ¶¶ 22–25). While at the hospital, Plaintiff was transferred to a room and an intravenous lock

  (“IV lock”) was placed in his right hand. (Id. ¶ 28). He was treated for abrasions and given

  Versed, a sedative, which rendered him unconscious. (Id. ¶¶ 26–28). Sometime before 7:00

  p.m., Plaintiff was cleared for release after being examined by a physician and a mental health

  worker. (Id. ¶ 29).

         When Plaintiff awoke, he decided to leave the hospital. He dressed himself and walked

  out of the room. The IV lock in his hand was not attached to any equipment at that time. (Id.


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  ¶¶ 30–31). Christopher Woody, a hospital security guard, saw Plaintiff and informed him that he

  needed to have the IV lock removed before leaving. (Id. ¶ 31). Plaintiff stated he would take it

  out himself and continued his search for an exit. (Id. ¶ 31). When Woody began to pursue him,

  Plaintiff ran to an elevator with hopes of reaching the cafeteria. (Id. ¶ 33). Plaintiff then rode the

  elevator to the basement and left through the cafeteria. (Id. ¶ 34).

         Defendant Miller, an off-duty Lynchburg Police Department (“LPD”) officer working at

  the hospital, used his police radio to request assistance from on-duty officers. (Id. ¶ 37). Based

  on information he received from an unidentified nurse who had received information from an

  unidentified person, Miller described Plaintiff as a “black male subject” with “possible warrants”

  outstanding.   (Id. ¶¶ 37, 86). Defendants Clark and Bragg, both LPD officers, were off-duty

  nearby and received Miller’s radio call for assistance; they joined the pursuit in an unmarked car.

  (Id. ¶ 45). Meanwhile, Defendant Tidwell, a security supervisor employed by Centra, called 9-1-

  1 and requested police assistance in detaining Plaintiff. (Id. ¶¶ 39–40). He had also ordered his

  subordinate security guards to detain Plaintiff. (Id. ¶ 40).

         Defendant Cooper, a Centra security guard, drove a marked security vehicle onto public

  streets in pursuit of Plaintiff. (Id. ¶¶ 41–42). Cooper spotted Plaintiff in a nearby parking lot,

  but Plaintiff eluded him by running up a hill. (Id. ¶ 43). Defendants Clark and Bragg arrived in

  the parking lot shortly after Plaintiff had escaped Cooper. (Id. ¶ 48). As they were continuing

  their search, Clark observed Plaintiff run into the parking lot of a nearby bank. (Id.). Clark

  exited his vehicle and drew his taser and threatened to fire it if Plaintiff did not stop running. (Id.

  ¶ 50). Plaintiff stopped and turned around; he told Clark that he had no authority to stop him.

  (Id. ¶ 51). Plaintiff turned around and began walking away. (Id.).

         At this time, Bragg pulled his vehicle ahead of Plaintiff’s path, exited his vehicle,

  grabbed Plaintiff, and pushed him up against the vehicle. (Id. ¶ 52). Bragg and Clark then


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  attempted to handcuff Plaintiff, but he resisted by stiffening his arms without striking either

  officer. (Id. ¶ 55). Tidwell and Cooper arrived on the scene at this time, and Tidwell began to

  assist. (Id. ¶¶ 56, 60). Clark then knocked Plaintiff’s legs out from under him, bringing all four

  men to the ground; Plaintiff incurred lacerations as a result. (Id. ¶ 61).

          Clark climbed on top of Plaintiff’s back and grabbed his right arm. (Id. ¶ 62). Tidwell

  then used the “drive stun mode” of the taser to administer two five-second bursts to Plaintiff’s

  back. (Id. ¶ 63). These bursts left scars on Plaintiff’s back and caused significant pain. (Id.).

  Clark then placed Plaintiff in a chokehold. (Id. ¶ 67). Meanwhile, Bragg punched and pinched

  Plaintiff several times. (Id. ¶ 64). Clark told Plaintiff he was “under arrest,” and along with help

  from other officers, Plaintiff was handcuffed. (Id. ¶¶ 69-71).

          Plaintiff was placed in a marked police car and transported back to the emergency room.

  (Id. ¶¶ 71, 73). Bragg and Clark sought an arrest warrant for Plaintiff for disorderly conduct, but

  the magistrate refused to issue a warrant. (Id. ¶ 77). Tidwell, after conversing with Bragg or

  Clark, obtained a misdemeanor warrant against Plaintiff for trespassing on Centra’s property.

  (Id. ¶ 78). Bragg then obtained a misdemeanor warrant against Plaintiff for obstruction of

  justice. (Id.). Plaintiff was arrested and held without bond on these charges for fourteen days

  before he was granted bail. (Id. ¶ 79). The misdemeanor trespass charge was dismissed on

  March 10, 2016, for lack of probable cause. (Id. ¶ 80). On September 26, 2016, a jury found

  Plaintiff not guilty of obstruction of justice. (Id. ¶ 81).

                                             III. DISCUSSION

          The Complaint contains twelve counts: (1) unlawful seizure, false imprisonment, and

  false arrest in violation of the Fourth Amendment; (2) excessive force in violation of the Fourth

  Amendment; (3) malicious prosecution in violation of the Fourth Amendment; (4) conspiracy to

  maliciously prosecute in violation of the Fourth Amendment; (5) common law assault; (6)


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  common law battery; (7) common law false imprisonment; (8) common law malicious

  prosecution; (9) common law conspiracy to maliciously prosecute; (10) intentional infliction of

  emotional distress; (11) statutory conspiracy to maliciously prosecute; and (12) negligent

  entrustment of a taser.

               A. Motion #1: Defendants Clark, Bragg, Miller, and the City (Dkt. 24)

         Defendants seek partial dismissal of Counts 1–4 and full dismissal of Count 11. Plaintiff

  has conceded and withdrawn Count 11. (Dkt. 36 at ECF 20). The remaining Counts will be

  considered in turn.

  1. Count 1: Unlawful Seizure, False Imprisonment, and False Arrest (§ 1983)

         Count 1 alleges that Defendants Clark, Bragg, and Miller violated Plaintiff’s Fourth

  Amendment right by detaining him without probable cause. (Dkt. 1 ¶ 99–112). Furthermore,

  Count 1 alleges that the City is liable as a municipality for its failure to train and supervise its

  officers with regards to detention and arrest. (Id. ¶ 121–34). Defendants Clark, Bragg, Miller,

  and the City ask the Court to dismiss Count 1 against them. Clark, Bragg, and Miller assert that

  they are entitled to qualified immunity, while the City argues that Plaintiff has failed to state a

  claim of municipal liability. (Dkt. 26 at 1).

  a. Qualified Immunity: Defendants Bragg and Clark

         Qualified      immunity   protects       “government   officials   performing   discretionary

  functions . . . insofar as their conduct does not violate clearly established statutory or

  constitutional rights of which a reasonable person would have known.” Wilson v. Layne, 526

  U.S. 603, 609 (1999) (citing Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)); see also Occupy

  Columbia v. Haley, 738 F.3d 107, 118 (4th Cir. 2013). To be entitled to qualified immunity, a

  defendant must show that even if there was a constitutional violation, the right in question was

  not clearly established at the time that the defendant acted. Henry v. Purnell, 652 F.3d 524, 531


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  (4th Cir. 2011) (en banc); Ridpath v. Bd. of Governors Marshall Univ., 447 F.3d 292, 306 (4th

  Cir. 2006).

          Defendants Bragg and Clark assert that they are entitled to qualified immunity because

  they reasonably relied on information from Defendant Miller, a fellow officer. (Dkt. 26 at 3).

  They argue that, regardless of whether there was probable cause to arrest Plaintiff, they had

  reason to believe probable cause existed because they were told my Miller that Plaintiff had

  “possible warrants” outstanding and should be apprehended. (Dkt. 1 ¶ 37).

          Police officers routinely rely on information from other officers, and reliance—absent

  clear, contradictory evidence—is reasonable.        See, e.g., Whiteley v. Warden, Wyo. State

  Penitentiary, 401 U.S. 560, 568 (1971) (“Certainly police officers called upon to aid other

  officers in executing arrest warrants are entitled to assume that the officers requesting aid” have

  established probable cause.); Lucas v. Shivley, 31 F. Supp. 3d 800, 813 (W.D. Va. 2014)

  (“Indeed, a police force could not function without reasonable reliance on the statements and

  efforts of others.” (citations omitted)).

          Although the arrest may ultimately be found to be in violation of the Fourth Amendment,

  see, e.g., Whiteley, 401 U.S. at 568–69, the officers who reasonably relied on fellow law

  enforcement are shielded from individual liability. See, e.g., United States v. Hensley, 469 U.S.

  221, 232 (1985) (“In such a situation, of course, the officers making the stop may have a good-

  faith defense to any civil suit.”); Liu v. Phillips, 234 F.3d 55, 57 (1st Cir. 2000) (“Where the

  authorizing officer has made a factual mistake but the mistake is not apparent, immunity for the

  officer who reasonably assisted is well settled.” (citations omitted)); Lucas v. Shively, 31 F.

  Supp. 3d 800, 813–17 (W.D. Va. 2014), aff’d, 596 F. App’x 236 (4th Cir. 2015). This is because

  qualified immunity protects officers who “could reasonably believe that their actions were

  lawful.” Henry v. Purnell, 652 F.3d 524, 531 (4th Cir. 2011). Defendants Bragg and Clark


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  could reasonably believe that their actions were lawful because they reasonably relied in good

  faith on information from a fellow officer.

          Thus, even if Defendants Bragg and Clark violated Plaintiff’s Fourth Amendment rights,

  they were not being “plainly incompetent” by “transgressing bright lines” when they decided to

  arrest Plaintiff. Wilson v. Layne, 141 F.3d 111, 114 (4th Cir. 1998). A reasonable officer would

  have relied on Miller’s call for help in the absence of clear contradictory evidence. In fact,

  Plaintiff’s evasive actions would have served to confirm Miller’s statement that Plaintiff was

  wanted for criminal conduct. Cf. Illinois v. Wardlow, 528 U.S. 119, 124 (2000) (explaining that

  unprovoked flight, when combined with other circumstances, can lead to reasonable suspicion).

  Simply put, the conduct of Defendants Bragg and Clark did not “violate clearly established

  statutory or constitutional rights of which a reasonable person would have known.”                Id.

  Accordingly, they are entitled to qualified immunity on Count 1.

  b. Qualified Immunity: Defendant Miller

          Defendant Miller’s role in the incident was meaningfully different from that of

  Defendants Bragg and Clark, and it warrants separate consideration. Based on information he

  received from an unidentified nurse who had received information from an unidentified person,

  Miller was the one who requested Bragg and Clark’s assistance that ultimately led to Plaintiff’s

  arrest. (Dkt. 1 ¶¶ 37, 86). The Complaint does not allege that Miller actually arrested Plaintiff,

  but Plaintiff contends that Miller is liable because he “request[ed] or direct[ed] another to do so.”

  (Id. ¶ 101).

          The problem with this argument, however, is that the Complaint does not allege that

  Miller directed Bragg and Clark specifically to arrest Plaintiff. It merely states that Miller

  requested aid in “apprehending” Plaintiff. (Id. ¶ 37). Miller can be held liable only for conduct

  that he specifically directed or had knowledge of, see Shaw v. Stroud, 13 F.3d 791, 799 (4th Cir.


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  1994), and not every apprehension is an arrest. See, e.g., Terry v. Ohio, 392 U.S. 1, 22 (1968).

  Miller’s request would certainly include an apprehension short of an arrest, such as a brief

  investigatory stop.

          Furthermore, the facts demonstrate that Miller possessed reasonable articulable suspicion

  to support such an apprehension when he called for backup. From Miller’s perspective, he was

  aware of an individual with an IV lock in his arm who was running through the hospital to evade

  a Centra security guard, and he had been told that the individual had possible warrants out

  against him. (Id. ¶¶ 31–37, 86). Although in a perfect world Miller would have had time to

  verify this information, what he knew justified at least a Terry stop of Plaintiff to investigate the

  situation further, especially considering the heightened security concerns in hospitals. If Miller

  had simply ignored the information he received and a patient or employee was injured, he likely

  would have been viewed as negligent. In this era of active-shooter incidents and acts of public

  violence, Miller had an obligation to investigate these claims of a man acting erratically in the

  hospital. Even if Miller was ultimately incorrect in his assessment, the Court cannot second

  guess his split-second judgments based on the benefit hindsight. See Maciariello v. Sumner, 973

  F.2d 295, 298 (4th Cir. 1992) (“Officials are not liable for bad guesses in gray areas; they are

  liable for transgressing bright lines.”).

          Accordingly, the Court will dismiss Count 1 because Plaintiff has failed to plead a

  constitutional violation by Miller. There are no allegations that he actually conducted the arrest,

  and the Complaint states that he requested assistance in apprehending Plaintiff after developing

  reasonable articulable suspicion. He cannot be held liable for Plaintiff’s eventual arrest—even if

  it was unlawful—because he did not specifically direct the arrest.

          Alternatively, even if Miller’s request for apprehension were construed as unlawfully

  directing Plaintiff’s arrest, he would be entitled to qualified immunity because he reasonably


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  relied in good faith on the information available to him at that time. See, e.g., Hensley, 469 U.S.

  at 232 (“In such a situation, of course, the officers making the stop may have a good-faith

  defense to any civil suit.”); Liu, 234 F.3d 55, 57 (1st Cir. 2000) (“Where the authorizing officer

  has made a factual mistake but the mistake is not apparent, immunity for the officer who

  reasonably assisted is well settled.” (citations omitted)); Lucas, 31 F. Supp. 3d at 813–17 (W.D.

  Va. 2014), aff’d, 596 F. App’x 236 (4th Cir. 2015).

  2. Counts 3 & 4: Malicious Prosecution and Conspiracy to Maliciously Prosecute (§ 1983)

         Defendants Bragg and Clark ask the Court to grant them qualified immunity as to Counts

  3 and 4 because the “right to be free from malicious prosecution is not clearly established in the

  Fourth Circuit.” (Dkt. 26 at 4).

         This contention is correct in the technical sense that the Fourth Circuit does not recognize

  common law malicious prosecution as an “independent cause of action.” Lambert v. Williams,

  223 F.3d 257, 260, 262 (4th Cir. 2000) (“Common law malicious prosecution is not itself

  redressable under § 1983.”).       Nevertheless, the Fourth Circuit has stated that “a malicious

  prosecution claim under § 1983 is properly understood as a Fourth Amendment claim for

  unreasonable seizure which incorporates certain elements of the common law tort.” Burrell v.

  Virginia, 395 F.3d 508, 514 (4th Cir. 2005) (citing Lambert, 223 F.3d at 261). More specifically,

  the plaintiff must satisfy two elements: (1) the plaintiff was seized pursuant to legal process that

  was not supported by probable cause; and (2) the criminal proceedings terminated in plaintiff’s

  favor. Id.; see also Snider v. Seung Lee, 584 F.3d 193, 199 (4th Cir. 2009) (describing the two

  elements as “a wrongful seizure and a termination in her favor of the proceedings following her

  seizure”).

         Thus, Plaintiff’s malicious prosecution and conspiracy to maliciously prosecute claims—

  although inartfully drafted—are based upon law that is clearly established in the Fourth Circuit.


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  That is, “a claim founded on a Fourth Amendment seizure that incorporates elements of the

  analogous common law tort of malicious prosecution” is recognized in this circuit. Lambert, 223

  at 262; see also Seung Lee, 584 F.3d at 199. Malicious prosecution “is not an independent cause

  of action,” Lambert, 223 F.3d at 262, but a similar claim is cognizable under the Fourth

  Amendment. Seung Lee, 584 F.3d at 199.

         Despite Defendants’ incorrect assertion that the “right to be free from malicious

  prosecution is not clearly established in the Fourth Circuit,” (dkt. 26 at 4), they are nevertheless

  entitled to qualified immunity. This is because the first element of both Count 3 and Count 4 is

  seizure without probable cause, see Burrell, 395 F.3d at 514; see also Seung Lee, 584 F.3d at

  199, for which Defendants are entitled to qualified immunity. See supra Subsection III.A.1.

  Stated differently, the malicious-prosecution-style Fourth Amendment claim to that the Fourth

  Circuit has recognized requires Plaintiff to prove an unlawful seizure. As discussed above,

  Defendants Bragg, Clark, and Miller are entitled to qualified immunity for their seizure of

  Plaintiff. Thus, it logically follows that they are entitled to qualified immunity from a Fourth

  Amendment claims that requires proof of an unlawful seizure. Accordingly, Counts 3 and 4 will

  be dismissed.

  3. City of Lynchburg: Counts 1–4

         Plaintiff’s § 1983 claims—Counts 1, 2, 3, and 4—have also been brought against the City

  pursuant to Monell v. Dep’t of Soc. Servs. of City of New York, 436 U.S. 658, 690–91 (1978).

  See id. (holding that “local governments . . . may be sued for constitutional deprivations visited

  pursuant to governmental ‘custom’”). Plaintiff alleges that the City has “engaged in deliberately

  indifferent training of LPD officers” with regard to (1) detention and arrest; (2) lawful

  application of force; and (3) malicious prosecution. (Dkt. 1 ¶¶ 130, 233, 300, 363).

         The City asks the Court to dismiss all of these claims on the ground that Plaintiff has


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  failed to plead facts sufficient to establish that the City’s training or procedures were

  constitutionally deficient. The City argues that the Complaint is devoid of any allegations that

  the officers’ actions were actually part of a custom or policy as required under Monell.

         This assertion is correct as to Counts 1, 3, and 4. Despite the exceptional length of the

  Complaint, the claims found in Counts 1, 3, and 4 are nothing more than “labels,” “conclusions,

  and a formulaic recitation of the elements,” which “will not do.” Twombly, 550 U.S. at 555. The

  Complaint does not describe widespread conduct or detail the policies that Plaintiff believes to

  be unconstitutional. See Spell v. McDaniel, 824 F.2d 1380, 1388 (4th Cir. 1987) (“Neither the

  existence of such a policy or custom nor the necessary causal connection can be established by

  proof alone of the single violation charged.”). The allegations are based solely on this isolated

  incident and “a policy or custom of permitting LPD officers” to do what they did here, but no

  detail about the policy is provided. (Dkt. 1 ¶ 131). Without additional detail, Counts 1, 3, and 4

  violate the Twombly/Iqbal standard because they are nothing more than formulaic recitations of

  the elements combined with legal conclusions.

         Count 2, however, does provide additional details. Unlike Counts 1, 3, and 4, Count 2

  contains citations to LPD’s actual use-of-force policy that was in place at the time of the

  incident.   (Dkt. 1 ¶ 234; dkt. 1-4).     Plaintiff alleges that LPD’s use of force policy was

  unconstitutional because it allowed for use of a taser in circumstances that were prohibited by the

  Fourth Circuit. See Estate of Armstrong ex rel. Armstrong v. Vill. of Pinehurst, 810 F.3d 892,

  909 (4th Cir.), cert. denied, 137 S. Ct. 61 (2016) (“[A taser] may only be deployed when a police

  officer is confronted with an exigency that creates an immediate safety risk and that is

  reasonably likely to be cured by using the taser.”).

         “When a municipal ‘policy or custom’ is itself unconstitutional, i.e., when it directly

  commands or authorizes constitutional violations, the causal connection between policy and


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  violation is manifest and does not require independent proof.” Spell, 824 F.2d at 1387 (citing

  City of Oklahoma City v. Tuttle, 471 U.S. 808, 822 (1985)). But this presupposes that the policy

  was actually being exercised when the alleged constitutional violation occurred. See Tuttle, 471

  U.S. at 822–23 (“[N]o evidence was needed other than a statement of the policy by the municipal

  corporation, and its exercise.” (emphasis added)). It is not enough that a given policy was

  unconstitutional and Plaintiff’s rights were violated. The violation needs to be committed by

  someone actually governed by the policy in question. See id.

         Here, the person who is alleged to have used a taser unconstitutionally, Defendant

  Tidwell, was not a member of the LPD. He was a special conservator of the peace. There are no

  allegations that Tidwell was bound by the LPD’s use-of-force policy, and the policy itself states

  that its purpose was “to establish guidelines concerning the authorization, implementation,

  investigation and documentation of the use of force by officers of the Lynchburg Police

  Department.” (Dkt. 1-4 at 1) (emphasis added); see also id. (“It shall be the policy of the

  Lynchburg Police Department that officers will use only that force necessary to protect life and

  effect lawful objectives.” (emphasis added)). Likewise, the order appointing Tidwell makes no

  mention of complying with local law-enforcement policies. Instead, it states that Tidwell may

  use “up to the same amount of force as would be allowed to a law-enforcement officer employed

  by the Commonwealth or any of its political subdivisions making a lawful arrest.” (Dkt. 1-3 at

  2). 2 Absent any allegations the Tidwell was bound by LPD’s use-of-force policy, the City

  cannot be held liable for the actions of someone outside its purview. 3


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          This is in contrast to other circumstances where an order appointing a special conservator
  of the peace has placed the new officer under the direct supervision of local law enforcement.
  See, e.g., Austin v. Paramount Parks, Inc., 195 F.3d 715, 719 (4th Cir. 1999); Rodriguez v.
  Smithfield Packing Co., 338 F.3d 348, 355 (4th Cir. 2003).
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         At oral argument, Plaintiff’s counsel sought to salvage his claims against the City by
  pointing out that Defendant Clark, who is an LPD officer, pointed his taser at Plaintiff during his
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         Accordingly, the Court will grant the City’s motion to dismiss Count 2 because Plaintiff

  has failed to plead that Tidwell was bound by or exercising LPD’s use-of-force policy when he

  used his taser against Plaintiff. Even if LPD’s policy was unconstitutional, it cannot be the but-

  for or proximate cause of an alleged constitutional violation committed by someone not

  governed by the policy.

                              B. Motion #2: Defendant Centra (Dkt. 25)

         Centra asks the Court to dismiss Counts 1, 2, 3, 4, and 12. Centra also asks the Court to

  strike or limit Plaintiff’s request for punitive damages.

  1. Counts 1–4: Section 1983

         Plaintiff lodges four Monell-style claims against Centra on the theory that its policies or

  customs were the cause of Plaintiff’s constitutional deprivations. 4         Typically, a private

  corporation would not be liable under § 1983, but the Fourth Circuit has recognized an exception

  to this rule where private security guards have been appointed as special conservators of the

  peace (“SCOPs”). Austin v. Paramount Parks, Inc., 195 F.3d 715, 719, 727–28 (4th Cir. 1999)

  (“Monell and its progeny apply equally to a private corporation that employs special police

  officers.”). This means corporations like Centra can be held liable “only when an official policy

  or custom causes the alleged deprivation of federal rights” Id. at 728 (emphasis in orginial).

  Claims based on respondeat superior are improper. Id.

  pursuit. (Dkt. 1 ¶ 50). This argument fails for two reasons. First, because Clark did not use the
  taser to harm Plaintiff physically, it has no bearing on Plaintiff’s excessive-force claim. Second,
  Clark’s mere pointing of the taser is not necessarily unconstitutional under Estate of Armstrong,
  which discussed when a taser can be lawfully “deployed” (that is, actually administering a shock,
  not simply drawing the weapon). Compare Estate of Armstrong, 810 F.3d at 909 (“[A taser]
  may only be deployed when . . . .”), with id. at 862 (Officer Gatling drew his taser . . . . That
  warning had no effect, so Gattling deployed the taser.”) (demonstrating that drawing a taser is
  not synonymous with deploying a taser).
  4
          At oral argument, Plaintiff’s counsel conceded that his client’s § 1983 claims against
  Centra were factually insufficient to survive a motion to dismiss. In an abundance of caution, the
  Court will proceed with its analysis in case counsel’s comments at oral argument were not
  intended as a formal withdrawal of claims.
                                                   14
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         Plaintiff’s Monell-style claims against Centra are based on three different theories of

  liability: (1) deficient hiring policy; (2) deficient training policy; and (3) deficient discipline

  policy. Each will be considered in turn, and Counts 1–4 will be dismissed as against Centra.

  a. Deficient Hiring Policy

         In order to assert § 1983 liability on a deficient-hiring theory, Plaintiff must show that

  Centra acted with “deliberate indifference” in exercising its hiring policies. Bd. of Cty. Comm’rs

  of Bryan Cty., Okl. v. Brown, 520 U.S. 397, 410 (1997). This “is a stringent standard of fault,

  requiring proof that a municipal actor disregarded a known or obvious consequence of his

  action.” Id. Such proof must go beyond “the mere probability that any officer inadequately

  screened will inflict any constitutional injury.” Id. at 412. “[I]t must depend on a finding that

  this officer was highly likely to inflict the particular injury suffered by the plaintiff.” Id.

  (emphasis in original).

         Here, Plaintiff has failed to allege facts sufficient to meet this “stringent standard of

  fault.” Most notably, the Complaint lacks any allegations regarding Tidwell’s background or the

  background of other SCOPs. Without such allegations, it is unclear how Tidwell or others were

  highly likely to commit constitutional violations at the time of their hiring. 5 The only allegations

  regarding Centra’s hiring policy are (1) that Centra’s SCOPs are not “qualified or trained to

  protect the constitutional rights of individuals”; and (2) that Centra “does not require

  psychological evaluations or fitness for duty examinations of the armed security guards it hires.”

  (Dkt. 1 ¶ 250). This first allegation is in conflict with the order appointing Tidwell as an SCOP,

  which states he “has met the registration and training requirements established by the Virginia

  5
         See Sampson v. Highland Cty. Va. Bd. of Supervisors, No. 7:15-cv-465, 2017, 2017 WL
  1383951, at *2 (W.D. Va. Apr. 13, 2017) (“Sampson has pled no facts suggesting that the Board
  of Supervisors was aware, let alone disregarded, a known or obvious consequence of hiring the
  applicant.”); Lee v. City of Richmond, No. 3:12-cv-471, 2013 WL 1155590, at *5 (E.D. Va. Mar.
  19, 2013) (“[T]he Amended Complaint never asserts that there was any event in the officers’ past
  conduct that would have made hiring a constitutionally deficient decision.”).
                                                   15
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  Department of Criminal Justice Services.” (Dkt. 1-3 at 1).

         As for the second allegation, it is unclear how the failure to conduct psychological and

  fitness-for-duty examinations made a constitutional violation an “obvious consequence,” Brown,

  520 U.S. at 410—especially considering that Tidwell was vetted and approved by the Circuit

  Court for the City of Lynchburg and the Virginia Department of Criminal Justice Services. (See

  id.). Without additional allegations, Plaintiff has failed to establish that Centra’s hiring policies

  were constitutionally deficient. Plaintiff’s allegations are nothing more than formal recitations of

  elements and legal conclusions.

  b. Deficient Training Policy

         Plaintiff’s next theory of § 1983 liability is based upon Centra’s alleged failure to

  properly train Tidwell and other officers to avoid constitutional violations. His claim fails,

  however, because it is based solely on the incident involving Plaintiff, rather than a pattern of

  similar conduct by improperly trained employees. See Tuttle, 471 U.S. at 823–24 (1985) (“Proof

  of a single incident of unconstitutional activity is not sufficient to impose liability under Monell,

  unless proof of the incident includes proof that it was caused by an existing, unconstitutional

  municipal policy, which policy can be attributed to a municipal policymaker.”); Connick v.

  Thompson, 563 U.S. 51, 62 (2011) (“A pattern of similar constitutional violations by untrained

  employees is ordinarily necessary to demonstrate deliberate indifference for purposes of failure

  to train.” (internal quotation marks omitted)).

         The only allegation regarding Centra’s training is that another security guard, Wesley

  Gillespie, was trained to use a Model X2 taser but carried a Model X26. (Dkt. 1 ¶ 251). This

  allegation, standing alone, is not sufficient to establish a failure-to-train claim under Monell. As

  discussed below, the alleged violation in this case did not occur because the taser was improperly

  operated; Plaintiff’s theory is that the taser should not have been used at all. Because “[t]here


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  must at least be an affirmative link between the training inadequacies alleged, and the particular

  constitutional violation at issue,” this allegation does not save Plaintiff’s Monell claim. The fact

  remains that he has failed to demonstrate a custom or policy that led to his injuries—either by

  description of a tangible policy or a pattern of conduct indicative of a policy.

  c. Deficient Discipline Policy

         Plaintiff’s third and final theory for holding Centra liable under § 1983 is that Centra has

  maintained a constitutionally deficient policy for disciplining security guards. (See dkt. 1 ¶¶ 166,

  249, 313, 375).     Plaintiff concedes that his allegations of deficient discipline policy are

  impermissibly vague. (Dkt. 35 at ECF 13).

         Plaintiff requests leave to amend the Complaint regarding such policies or dismissal

  without prejudice. He argues that he possesses insufficient facts at this time regarding any

  written policies or past incidents involving Centra security guards. He is also unsure about

  whether Tidwell was properly disciplined after this incident.

         Because a response brief is not the appropriate mechanism for requesting leave to amend,

  the Court will not grant leave at this time. However, dismissal will be without prejudice insofar

  as it concerns Centra’s discipline policies or customs in place at the time of the incident. The

  Court notes that information regarding Tidwell’s punishment from Centra following the

  incident—or lack thereof—cannot form the sole basis of a failure-to-discipline claim because

  subsequent conduct cannot be the cause of the precedent violation. See Cordova v. Aragon, 569

  F.3d 1183, 1194 (10th Cir. 2009); Moody v. City of Newport News, Va., 93 F. Supp. 3d 516, 535

  (E.D. Va. 2015).

  2. Count 12: Negligent Entrustment of a Taser

         Plaintiff alleges that Centra is liable for Plaintiff’s taser-related injuries because it

  negligently entrusted a taser to Defendant Tidwell as an SCOP. This Count will be dismissed


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  because the Complaint lacks facts sufficient to state a plausible claim of negligent entrustment

  under Virginia law.

          To state a claim for negligent entrustment of chattel (here, a taser), a plaintiff must show

  that “the owner knew, or had reasonable cause to know, that he was entrusting his [chattel] to an

  unfit [user] likely to cause injury to others.”       Denby v. Davis, 212 Va. 836, 838 (1972).

  “Furthermore, in order to impose liability upon the owner, the plaintiff must prove that the

  negligent entrustment of the [chattel] to the tortfeasor was a proximate cause of the accident.”

  Turner v. Lotts, 244 Va. 554, 557 (1992).

          As an initial matter, the parties dispute whether Plaintiff has sufficiently pled that Centra

  knew or had reason to know that Tidwell would use the taser to injure others. Plaintiff’s primary

  allegation is that Tidwell was not certified in the specific model taser that was used against
               6
  Plaintiff.       (Dkt. 1 ¶ 614). Centra disputes whether this lack of certification was enough to

  demonstrate that Centra knew or should have known that Tidwell was likely to cause injury to

  others. (Dkt. 27 at 18–19).

          The Court need not wade into this dispute, however, because Plaintiff has failed to

  adequately plead proximate cause. Even assuming that Plaintiff’s allegations are sufficient to

  demonstrate Centra’s negligence, the Complaint is devoid of allegations that Centra’s negligence

  was the proximate cause of Plaintiff’s injuries.         Besides stating that Centra’s negligent

  entrustment “was a direct and proximate cause of [Plaintiff’s] injuries”—an impermissible legal

  conclusion—the Complaint does not allege a sufficient causal relationship between the

  entrustment and Plaintiff’s injuries. There are no allegations, for instance, that Tidwell failed to

  use the taser properly or used the taser accidentally because he was unfamiliar with its



  6
          At oral argument, Plaintiff’s counsel appeared to concede that Tidwell actually was
  actually trained and certified on the model taser that he used against Plaintiff.
                                                   18
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  functions. 7 Instead, Plaintiff’s claim is that the taser should not have been used at all. (See dkt.

  1 ¶¶ 216–18). This logic fails because the decision of when and when not to employ a taser is

  unrelated to being certified to use a specific taser model. 8

          The case of Hack v. Nester, 241 Va. 499 (1990), is analogous and illustrative. In Hack, a

  car owner entrusted her vehicle to an unlicensed driver, which is negligence per se. Id at 503.

  The unlicensed driver then became drunk and caused a fatal accident. Nevertheless, the Supreme

  Court of Virginia ruled that the owner could not be held liable because proximate cause was

  lacking.   Id. at 503–04.     The fact that made the entrustment negligent—the driver being

  unlicensed—was unrelated to the actual cause of the accident—the driver’s intoxication. Id.

  Likewise in the instant case, the fact that made the entrustment allegedly negligent—Tidwell’s

  lack of certification—was unrelated to the actual cause of Plaintiff’s injuries—Tidwell’s decision

  to use the taser.

          Accordingly, Count 12 will be dismissed because Plaintiff has not alleged that Centra’s

  negligent entrustment was the proximate cause of his injuries.

  3. Punitive Damages

          Additionally, Centra asks the Court to strike Plaintiff’s claims for punitive damages

  against it. Because the § 1983 claims against Centra (Counts 1–4) and the negligent entrustment

  claim (Count 12) will be dismissed, the issue of punitive damages for those counts need not be

  discussed. The Court is then left to consider the punitive damages request based on the state-law

  7
          The Complaint actually suggests that Tidwell knew how to properly operate the Model
  X26 taser. It is alleged that Tidwell used the “drive stun mode,” which is the appropriate mode
  for close encounters, rather than the “dart mode,” which is meant for longer distances.
  Furthermore, the allegation that Tidwell used the “drive stun mode” twice is additional evidence
  that he knew how to operate the taser. (See dkt. 1 ¶ 63 n.6). Plaintiff’s counsel averred at oral
  argument that Tidwell may have deployed the taser accidentally the second time, but the Court
  was unable to find that allegation within the four corners of the Complaint’s 122 pages.
  8
          In fact, Plaintiff concedes that Tidwell was likely certified to use a different model of
  taser. (See dkt. 1 ¶ 58 n.4). As such, Plaintiff’s theory of negligence is not that Tidwell was
  uncertified to use any kind of taser, but simply that he was not certified to use the Model X26.
                                                    19
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  claims found in Counts 5–9. 9

         Judges in the Western District of Virginia have established a policy of not addressing

  remedies issues at the 12(b)(6) stage, which is designed to address the sufficiency of claims.10

  Because Plaintiff’s requests for punitive damages are not separate claims, they will not be

  dismissed at this time. Nevertheless, because Virginia law caps punitive damages at $350,000,

  see Va. Code § 8.01-38.1, Plaintiff’s demand for punitive damages on Counts 5–9 will be

  reduced. See, e.g., Nelson v. Green, No. 3:06-cv-70, 2014 WL 131055, at *24 (W.D. Va. Jan.

  14, 2014) (Moon, J.); Boren v. Nw. Reg’l Jail Auth., No. 5:13-cv-13, 2013 WL 5429421, at *11

  (W.D. Va. Sept. 30, 2013) (Urbanski, J.). Plaintiff’s total request for punitive damages in Counts

  5–9 cannot exceed $350,000.

                            C. Motion #3: Defendant Tidwell (Dkt. 28)

         Defendant Tidwell requests dismissal of Counts 1, 2, 3, 4, 9, 10, and 11. As discussed

  above, Plaintiff has conceded that Count 11 should be dismissed. The remaining arguments for

  dismissal will be discussed below.

  1. Counts 1–4: Color of State Law

         Defendant Tidwell asks the Court to dismiss Counts 1, 2, 3, and 4 against him because he

  was not acting under color of state law. See 42 U.S.C. § 1983; Rendell-Baker v. Kohn, 457 U.S.

  830, 835 (1982).    Plaintiff alleges that Defendant Tidwell aided in Plaintiff’s arrest, used

  excessive force by shocking Plaintiff with is taser, and sought baseless warrants for Plaintiff’s


  9
         Because Count 10 will be dismissed against all defendants, see infra Subsection III.B.3,
  the punitive damages request found therein need not be addressed either.
  10
         See, e.g., Rosenthal v. R. W. Smith Co., No. 6:16-cv-56, 2017 WL 1750704, at *8 (W.D.
  Va. May 3, 2017) (Moon, J.); Coogan-Golden v. Wal-Mart Stores E., LP, No. 5:15-cv-54, 2017
  WL 963235, at *1–2 (W.D. Va. Mar. 13, 2017) (Dillon, J.); Meeks v. Emiabata, No. 7:14-cv-
  534, 2015 WL 1636800, at *2 (W.D. Va. Apr. 13, 2015) (Dillon, J.); Charles v. Front Royal
  Volunteer Fire & Rescue Dep’t, Inc., 21 F. Supp. 3d 620, 631 (W.D. Va. 2014) (Urbanski, J.);
  Debord v. Grasham, No. 1:14-cv-39, 2014 WL 3734320, at *1 (W.D.Va. July 28, 2014) (Jones,
  J.).
                                                 20
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  arrest after conspiring with LPD officers. Defendant Tidwell argues that his participation in the

  arrest and prosecution of Plaintiff was outside the scope of his authority as an SCOP, and thus he

  was acting in his private capacity, rather than under color of state law.

         Although the Fourth Amendment “does not provide protection against searches by

  private individuals acting in a private capacity,” it does protect against “those private individuals

  acting as instruments or agents of the Government.” United States v. Day, 591 F.3d 679, 683

  (4th Cir. 2010). To determine whether a private individual is operating in a private capacity or

  as an instrument of the state, two “primary factors” are to be considered: “(1) whether the

  Government knew of and acquiesced in the private individual’s challenged conduct; and (2)

  whether the private individual intended to assist law enforcement or had some other independent

  motivation.” Id. Here, both factors weigh in favor of finding that Defendant Tidwell was acting

  under color of state law because he was acting as an SCOP pursuant to the express authority of

  the Commonwealth of Virginia.

         Under Virginia law, a corporation, such as Centra, may petition a circuit court to appoint

  SCOPs who may have “all the powers, function, duties, responsibilities and authority of any

  other conservators of the peace” within a prescribed geographic location. Va. Code § 19.2-

  13(A). On August 29, 2013, Defendant Tidwell, upon the petition of Centra, was appointed as

  an SCOP. The order approving this appointment was attached to the Complaint. (Dkt. 1-3)

  [hereinafter “SCOP Order”].

         The SCOP Order states that Tidwell is an SCOP “for the geographical locations and on

  the petitioner’s premises . . . as well as in the streets and sidewalks adjacent to the grounds

  thereof.” (SCOP Order at 1–2). It provides further that he:

         shall have all the powers, functions, duties, responsibilities and authorities of
         Special Conservator of the Peace; [he] shall be considered a ‘law enforcement
         officer’ . . . be permitted to perform the duties of a law-enforcement officer at the
         direction and discretion of [Centra]; that he may use ‘police’ on any badge or

                                                   21
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         uniform worn in the performance of his duties; [he] may affect arrests, at the
         discretion and direction of [Centra], using up to the same amount of force as
         would be allowed to a law-enforcement officer employed by the
         Commonwealth . . . [and he] is authorized to carry a weapon while within the
         scope of his employment as [an SCOP].

  (SCOP Order at 2).

         Defendant argues that he was acting outside the scope of his SCOP authority when he

  pursued and arrested Plaintiff, and thus he was operating as a private actor. Although the arrest

  took place off of Centra’s property, it is undisputed that the arrest location was “adjacent to the

  grounds thereof,” as provided in the SCOP Order and permitted by statute. (Dkt. 1-3 at 1–2); Va

  Code § 19.2-13(A). Instead, Tidwell argues that he was operating outside his authority because

  he was not acting “at the direction and discretion” of Centra, as required by the SCOP Order.

         This argument flies in the face of a natural reading of the SCOP Order’s language. When

  the circuit court authorized Tidwell to perform the duties of a law-enforcement officer and affect

  arrests “at the discretion and direction” of Centra, it could not have meant that each action

  Tidwell takes must be directly ordered by his employer. Such an interpretation would render

  Tidwell impotent and lead to preposterous results. When confronted with unlawful activity,

  Tidwell would have to seek approval before exercising the duties of a law-enforcement officer or

  making an arrest. This would be incredibly inefficient and completely ineffective in exigent

  circumstances.

         A more natural reading of the phrase “at the discretion and direction” is that Centra had

  the discretion to limit or circumscribe Tidwell’s authority and direct him as it so desired. The

  circuit court was prescribing the outer limits of Tidwell’s authority, but giving his employer,

  Centra, the ability to define Tidwell’s job responsibilities within those limits. It is perfectly

  natural to expect that Centra may have instituted its own limits or codes of conduct for SCOPs,

  but there are no allegations that Tidwell was restricted by Centra from pursuing suspects and


                                                  22
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  making arrests. Accordingly, based on the Complaint, Tidwell was acting within the scope of his

  SCOP authority.

         Tidwell argues in the alternative that even if he was acting within the scope of his SCOP,

  he was not acting under color of state law because the government’s role in his activities were

  too passive. He asserts that the government’s only involvement was the SCOP Order, which he

  argues is not enough to make him an instrument or agent of the state. See Day, 591 F.3d at 683.

  Were this true—that the SCOP Order was the only government involvement—then Tidwell’s

  argument would have strong support in the case law. See id. at 685 (reviewing a similar

  statutory scheme in Virginia that authorizes “armed security officers”) (“This mere governmental

  authorization for an arrest . . . in the absence of more active participation or encouragement is

  insufficient to implicate the Fourth and Fifth Amendments.”).

         The problem with Tidwell’s argument, however, is that the SCOP Order was not the only

  government involvement in this incident. The Complaint alleges that Tidwell called 9-1-1 for

  assistance, and when he arrived at the scene of the arrest, at least two LPD officers were actively

  engaged with Plaintiff and attempting to arrest him. (Dkt. 1 ¶¶ 39–40, 55–56, 60). Tidwell then

  worked together with the officers to subdue and arrest Plaintiff, including deploying his taser.

  (Id. ¶¶ 60, 63). Furthermore, Plaintiff has alleged that after the arrest Tidwell communicated

  with either Clark or Bragg and sought arrest warrants at their behest. (Id. ¶¶ 333–35). This

  conduct—combined with the SCOP Order—appears to be precisely the kind of “active

  participation or encouragement” that the Fourth Circuit contemplated in Day. Accordingly, the

  first Day factor is satisfied because the government either directed or acquiesced to Tidwell’s

  conduct.

         As for the second Day factor—whether the private individual intended to assist law

  enforcement—it too is satisfied in this case. Tidwell’s decision to call 9-1-1, aid two LPD


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  officers that were already engaged with Plaintiff, and seek arrest warrants evinces a clear

  intention to assist law enforcement officers in the apprehension, arrest, and prosecution of

  Plaintiff. Tidwell’s conduct reflects that he “intended to assist law enforcement” and there is no

  evidence of “some other independent motivation.” Day, 591 F.3d at 683.

         Thus, Plaintiff has alleged facts sufficient to state a plausible claim that Tidwell was

  acting under color of state law. The allegations, taken as true, demonstrate that he was acting

  within the scope of his SCOP authority to assist law enforcement at the direction or acquiescence

  of state actors. That is, he was acting as an instrument or agent of the state under color of state

  law. See Dennis v. Sparks, 449 U.S. 24, 28 n.4 (1980) (“To act ‘under color’ of law does not

  require that the accused be an officer of the State. It is enough that he is a willful participant in

  joint activity with the State or its agents.” (quoting Adickes v. S. H. Kress & Co., 398 U.S. 144,

  152 (1970)).

  2. Counts 4 & 9: Lack of Conspiracy

         Defendant Tidwell asks the Court to dismiss Counts 4 and 9—which allege conspiracy to

  maliciously prosecute under § 1983 and Virginia common law, respectively—because Plaintiff

  has failed to plead his claims of conspiracy with sufficient specificity. He argues that Plaintiff’s

  allegations are based upon unsupported legal conclusions and conjecture, rather than factual

  allegations about concerted action or meeting of the minds.

         Under Virginia law, “[a] common law conspiracy consists of two or more persons

  combined to accomplish, by some concerted action, some criminal or unlawful purpose or some

  lawful purpose by a criminal or unlawful means.” The Country Vintner, Inc. v. Louis Latour,

  Inc., 272 Va. 402, 412 (2006). Likewise, a claim of conspiracy under § 1983 requires a plaintiff

  to “plead specific facts in a nonconclusory fashion to survive a motion to dismiss.” Gooden v.

  Howard Cty., Md., 954 F.2d 960, 970 (4th Cir. 1992).


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         The Supreme Court addressed the pleading standard with regard to conspiracies—albeit

  under a separate statute—in Twombly. The Court stated that a complaint alleging a conspiracy

  requires “enough factual matter (taken as true) to suggest that an agreement was made.”

  Twombly, 550 U.S. at 556. This requires more than “an allegation of parallel conduct and a bare

  assertion of conspiracy” because such conduct “could just as well be independent action.” Id. at

  556–57. However, “[a]sking for plausible ground to infer an agreement does not impose a

  probability requirement at the pleading stage,” and “a well-pleaded complaint may proceed even

  if it strikes a savvy judge that actual proof of those facts is improbable.” Id. at 556.

         Here, Plaintiff has alleged parallel conduct, which “gets the complaint close to stating a

  claim.” Id. at 557. It is alleged that Defendant Tidwell sought arrest warrants for Plaintiff

  shortly after Defendants Bragg and Clark had been unsuccessful in obtaining warrants. (Dkt. 1

  ¶¶ 333, 335). But the Complaint does not stop there. The Complaint places the conduct “in a

  context that raises a suggestion of a preceding agreement.”            Twombly, 550 U.S. at 557.

  Defendants are alleged to have cooperated in the arrest earlier that evening, after which they

  realized that Plaintiff’s arrest may have been unlawful, which motivated them to seek warrants

  for Plaintiff’s arrest. (Dkt. 1 ¶¶ 76–77, 331). This context demonstrates that Tidwell’s decision

  to seek warrants may have been more than mere parallel conduct. Furthermore, Plaintiff alleges

  that upon information and belief, Defendant Bragg or Defendant Clark called Tidwell to discuss

  seeking additional warrants from the magistrate after their initial attempt failed. (Id. ¶ 334).

         Because the Complaint contains more than “an allegation of parallel conduct and a bare

  assertion of conspiracy,” Twombly, 550 U.S. at 556, Defendant’s motion as to Counts 4 and 9

  will be denied. Plaintiff has plead facts sufficient to state a plausible claim that there was a

  meeting of the minds and concerted effort by Defendants to maliciously prosecute Plaintiff.

  3. Count 10: Intentional Infliction of Emotional Distress


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         Defendant Tidwell asks the Court to dismiss Count 10 against him as it fails to state a

  claim of intentional infliction of emotional distress. In order to state a claim for IIED, a litigant

  must plead: (1) the defendant’s conduct was intentional or reckless; (2) the conduct was

  outrageous or intolerable; (3) there was a causal connection between the defendant’s conduct and

  the resulting emotional distress; and (4) the resulting emotional distress was severe. Almy v.

  Grisham, 273 Va. 68, 77 (2007). Because the Complaint fails to allege facts sufficient to satisfy

  the fourth element, the claim will be dismissed. 11

         Even assuming Plaintiff has alleged intentional or reckless conduct causally related to his

  emotional harm that was sufficiently outrageous and intolerable to satisfy the first three elements

  of IIED, Plaintiff has failed to plead emotional distress that is severe enough to satisfy the fourth

  element of an IIED claim. The Virginia Supreme Court has held that to state a claim for IIED,

  the resulting emotional distress must be “so severe that no reasonable person could be expected

  to endure it.” Almy, 273 Va. at 80 (quoting Harris v. Kreutzer, 271 Va. 188, 205 (2006)). Here,

  Plaintiff provides scant details about his emotional distress.        Instead, he merely lists the

  following symptoms: “(i) humiliation, (ii) embarrassment, (iii) anxiety, (iv) depression, (v)

  damage to his reputation, (vi) fear, (viii) [sic] panic, and (ix) [sic] severe mental anguish.” (Dkt.

  1 ¶ 594). Despite Plaintiff’s description of these symptoms as “severe emotional distress,” this

  label alone does not satisfy the high standard to establish IIED in Virginia. The symptoms

  described a far from being “so severe that no reasonable person could be expected to endure it.”

  Almy, 273 Va. at 80; see also id. at 79 (describing symptoms that “ultimately caused a complete

  disintegration of virtually every aspect of her life” and required “extensive therapy”); Twombly,

  550 U.S. at 555 (stating that “labels . . . conclusions, and a formulaic recitation of the elements of


  11
         Count 10 also alleges IIED by Defendants Bragg, Clark, and Centra. (Dkt. 1 ¶¶ 591–95).
  Tidewll was the only defendant to challenge Count 10, but because the same logic applies to all
  defendants, Count 10 will be dismissed in its entirety.
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  a cause of action will not do”). Because Plaintiff’s claims of emotional distress are too vague

  and insufficiently severe to state a plausible claim for relief, Count 10 will be dismissed.

                                           IV. CONCLUSION

         Two of the partial motions to dismiss will be granted in part and denied in part, while the

  motion by the City and Defendants Bragg, Clark, and Miller will be grantd. The dispositions

  will be as follows: (1) all Counts will be dismissed against the City, and it will be terminated

  from the case; (2) Counts 10, 11, and 12 will be dismissed against all defendants; (3) Counts 1, 3,

  and 4 will be dismissed against Defendants Miller, Bragg, and Clark because they are entitled to

  qualified immunity; (4) Counts 1–4 will be dismissed against Centra; (5) the punitive damages

  requests found in Counts 5–9 will be limited to a total of $350,000, in accordance with Virginia

  law; and (6) LPD John Does 1–10, LPD Jane Does 1–10, Centra John Does 1–10, and Centra Jane

  Does 1–10 will be dismissed and terminated from the case, pursuant to Rule 4(m), because they

  have not been served.

         In his briefs and at oral argument, Plaintiff’s counsel conceded that some of Plaintiff’s

  claims are factually insufficient, and requested leave to amend the Complaint. Seeing as these

  are not appropriate mechanisms for requesting such leave, it will not be granted at this time. See

  Fed. R. Civ. P. 7(b); Drager v. PLIVA USA, Inc., 741 F.3d 470, 474 (4th Cir. 2014); Cozzarelli v.

  Inspire Pharm. Inc., 549 F.3d 618, 630 (4th Cir. 2008). Nevertheless, if additional details are

  unearthed during discovery, Plaintiff retains the ability to motion the Court for leave to amend.

  See Fed. R. Civ. P. 15(a). Of course, any such request would require Plaintiff to attach a

  proposed amended complaint in order for the Court to determine whether leave to amend is

  warranted. In light of the exceptional length of the original complaint (122 pages) and the

  considerable number of claims that remain pending, the Court will not grant Plaintiff leave to

  amend unless it is certain that such an amendment is non-frivolous, non-futile, and in compliance


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  with Federal Rule of Civil Procedure 8.

         An appropriate Order will issue, and the Clerk of the Court is hereby directed to send a

  copy of this Memorandum Opinion to Plaintiff, Defendants, and all counsel of record.

         Entered this _____
                       7th day of August, 2017.




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